          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                            CIVIL NO. 3:06CV80
                               (3:03CR181-4)


TOMMY LEE MOORE,                                 )
                                            )
                        Petitioner,              )
                                            )
                  Vs.                       )    ORDER OF DISMISSAL
                                            )
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                        Respondent.         )
                                        )


      THIS MATTER is before the Court on the Petitioner’s motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255. No

response is necessary from the government.

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge




     Case 3:03-cr-00181-FDW     Document 202    Filed 02/24/06   Page 1 of 4
                                     2

     shall make an order for its summary dismissal and cause the
     movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts.

     On October 28, 2003, the Petitioner was charged in three counts of a

seven-count indictment with conspiracy to possess with intent to distribute

cocaine and cocaine base (Count One), possession with intent to distribute

cocaine base (Count Two), and using a firearm during a drug trafficking

offense (Count Three) in violation of 21 U.S.C. §§ 846 and 841(a)(1) and

18 U.S.C. § 924(c)(1). Bill of Indictment, filed October 28, 2003. On

March 31, 2004, the Petitioner entered into a plea agreement with the

Government wherein he agreed to plead guilty to Counts One and Three of

the indictment in exchange for the Government’s dismissal of Count Two.

Plea Agreement, filed March 31, 2004. The undersigned sentenced the

Petitioner on August 23, 2004, to a term of 84 months of imprisonment on

Count One and a consecutive term of 60 months imprisonment on Count

Three, for a total term of 144 months imprisonment. Judgment in a

Criminal Case, filed September 10, 2004. The Petitioner did not file an

appeal of his conviction and/or sentence. Therefore, the Petitioner’s

conviction became final on September 20, 2004. United States v. Wilson,


     Case 3:03-cr-00181-FDW   Document 202    Filed 02/24/06   Page 2 of 4
                                      3

256 F.3d 217, 221 (4th Cir. 2001) (citing Kapral v. United States, 166

F.3d 565, 577 (3d Cir. 1999)); United States v. Walker, 194 F.3d 1307

(table), 1999 WL 760237 (4th Cir. 1999) (citing Adams v. United States,

173 F.3d 1339, 1343 n.2 (11th Cir. 1999)). Petitioner signed his § 2255

motion on February 15, 2006, and same was filed in this Court on February

21, 2006.

     Prior to the Antiterrorism and Effective Death Penalty Act
     (AEDPA), a prisoner possessed virtually unlimited amounts of
     time to file a first petition for collateral review under 28 U.S.C.
     §§ 2254 and 2255. In an attempt to curb the protracted nature
     of such litigation, Congress established a one-year period of
     limitations. . . . In relevant part, the AEDPA amended § 2255
     by adding the following language:

             1-year period of limitation shall apply to a motion
            under this section. The limitation period shall run
            from the latest of -
                  (1) the date on which the judgment of conviction
                  becomes final; . . . .

     We are left with the question of when a judgment is to be
     considered final. The Supreme Court has addressed the
     question of finality in the context of retroactivity. The Court
     defined a conviction as being final when “a judgment of
     conviction has been rendered, the availability of appeal
     exhausted, and the time for a petition for certiorari elapsed or a
     petition for certiorari finally denied.”

Gendron v. United States, 154 F.3d 672, 673-74 (7th Cir. 1998) (quoting

Griffith v. Kentucky, 479 U.S. 314, 321 n.6 (1987)). Because the motion



     Case 3:03-cr-00181-FDW    Document 202    Filed 02/24/06   Page 3 of 4
                                       4

was filed a year and five months after the Petitioner’s conviction became

final, the undersigned, therefore, concludes this motion is untimely filed.1

Id.

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion to

vacate, set aside, or correct sentence is hereby DISMISSED WITH

PREJUDICE.



                                       Signed: February 24, 2006




      1
       Even if this petition were timely, the Court would direct its dismissal
in any event because the Petitioner has not set forth any grounds or
alleged any facts on which to base a determination of whether or not this
motion has any merit.


      Case 3:03-cr-00181-FDW   Document 202     Filed 02/24/06     Page 4 of 4
